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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 13-03841
         Fred B Goldman
         Annamarie C Goldman
                   Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 01/31/2013.

         2) The plan was confirmed on 05/17/2013.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 09/25/2013.

         5) The case was dismissed on 11/08/2013.

         6) Number of months from filing to last payment: 3.

         7) Number of months case was pending: 11.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $46,121.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

         Total paid by or on behalf of the debtor               $8,280.00
         Less amount refunded to debtor                             $0.00

 NET RECEIPTS:                                                                                      $8,280.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                 $3,000.00
     Court Costs                                                               $0.00
     Trustee Expenses & Compensation                                         $322.92
     Other                                                                     $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                  $3,322.92

 Attorney fees paid and disclosed by debtor:                  $500.00


 Scheduled Creditors:
 Creditor                                       Claim         Claim            Claim        Principal      Int.
 Name                                 Class   Scheduled      Asserted         Allowed         Paid         Paid
 BECKET & LEE LLP                 Unsecured      7,000.00     21,599.87        21,599.87            0.00       0.00
 CITIBANK                         Unsecured     28,709.00            NA               NA            0.00       0.00
 JEFFERSON CAPITAL SYSTEMS        Unsecured         892.00        628.59           628.59           0.00       0.00
 JEFFERSON CAPITAL SYSTEMS        Unsecured         538.00        585.14           585.14           0.00       0.00
 LAKE COUNTY CLERK                Secured        6,091.00       6,091.00         6,091.00      2,030.35        0.00
 LAKE COUNTY RADIOLOGY            Unsecured          12.00           NA               NA            0.00       0.00
 WELLS FARGO BANK                 Unsecured      7,077.00       6,951.79         6,951.79           0.00       0.00
 WELLS FARGO DEALERS SERVICES     Secured       17,301.00     17,074.65        17,074.65       1,707.37      55.48
 WELLS FARGO FINANCIAL ILLINOIS   Secured      110,000.00     79,724.69        79,724.69       1,163.88        0.00
 WELLS FARGO FINANCIAL ILLINOIS   Secured             0.00          0.00             0.00           0.00       0.00
 WELLS FARGO FINANCIAL ILLINOIS   Unsecured     35,268.00     38,812.97        38,812.97            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                $79,724.69          $1,163.88              $0.00
       Debt Secured by Vehicle                           $17,074.65          $1,707.37             $55.48
       All Other Secured                                  $6,091.00          $2,030.35              $0.00
 TOTAL SECURED:                                         $102,890.34          $4,901.60             $55.48

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                             $68,578.36                $0.00            $0.00


 Disbursements:

         Expenses of Administration                             $3,322.92
         Disbursements to Creditors                             $4,957.08

 TOTAL DISBURSEMENTS :                                                                       $8,280.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 01/10/2014                             By:/s/ Glenn Stearns
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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